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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

 UNILOC 2017 LLC,

                 Plaintiff,
           v.                                     C.A. NO.
 DAILYMOTION, INC.,                               JURY TRIAL DEMANDED
 DAILYMOTION SA

                 Defendants.


                           COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Uniloc 2017 LLC (“Uniloc”), by and through the undersigned counsel, hereby

files this Complaint and makes the following allegations of patent infringement relating to U.S.

Patent Nos. 6,519,005, 6,895,118 and 9,721,273 against Dailymotion, Inc. and Dailymotion SA

(collectively “Dailymotion”) and alleges as follows upon actual knowledge with respect to itself

and its own acts and upon information and belief as to all other matters:

                                  NATURE OF THE ACTION

      1.        This is an action for patent infringement. Uniloc alleges that Dailymotion

infringes U.S. Patent Nos. 6,519,005 (the “’005 patent”), 6,895,118 (the “’118 patent”) and

9,721,273 (the “’273 patent”) copies of which are attached hereto as Exhibits A-C (collectively,
“the Asserted Patents”).

      2.        Uniloc alleges that Dailymotion directly infringes the Asserted Patents by making,

using, offering for sale, selling and/or importing products and services that: (1) perform a method

for motion coding an uncompressed (pixel level) digital video data stream; (2) perform a method

of coding a digital image comprising macroblocks in a binary data stream and (3) perform a

method for providing content via a computer network and a computer system. Uniloc seeks

damages and other relief for Dailymotion’s infringement of the Asserted Patents.

                                             THE PARTIES

      3.        Uniloc 2017 LLC is a Delaware corporation having places of business at 1209
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Orange Street, Wilmington, Delaware 19801 and 620 Newport Center Drive, Newport Beach,

California 92660.

        4.      Uniloc holds all substantial rights, title and interest in and to the Asserted Patents.

        5.      Upon information and belief, Defendant Dailymotion, Inc., is Delaware

corporation with an office at 50 W 23rd Street, New York, New York. Dailymotion may be

served through its registered agent for service: National Registered Agents, Inc., 111 Eighth

Avenue, New York, New York, 10011.

        6.      Upon information and belief, Defendant Dailymotion SA is a French limited

liability company (société anonyme) with an office at 140 boulevard Malesherbes, 75017 Paris,
France.

                                   JURISDICTION AND VENUE

        7.      This action for patent infringement arises under the Patent Laws of the United

States, 35 U.S.C. § 1 et. seq. This Court has original jurisdiction under 28 U.S.C. §§ 1331 and

1338.

        8.      This Court has jurisdiction over Dailymotion Inc. because it is a Delaware

corporation. This Court has jurisdiction over Dailymotion SA because it has established

minimum contacts with this forum such that the exercise of jurisdiction over Dailymotion would

not offend traditional notions of fair play and substantial justice. Dailymotion SA, directly and

through subsidiaries, intermediaries (including distributors, retailers, franchisees and others), has
committed and continues to commit acts of patent infringement in this District, by, among other

things, making, using, testing, selling, licensing, importing and/or offering for sale/license

products and services that infringe the Asserted Patents.

          9.    For Defendant Dailymotion, Inc., venue is proper in this District under 28 U.S.C. §

1400(b) because it is a Delaware corporation. For Defendant Dailymotion SA, venue is proper in this

District under 28 U.S.C. § 1391(d) because it is a foreign corporation and is therefore subject to suit as

“aliens” in any district.




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               COUNT I – INFRINGEMENT OF U.S. PATENT NO. 6,519,005

       10.     The allegations of paragraphs 1-9 of this Complaint are incorporated by reference

as though fully set forth herein.

       11.     The ’005 patent, titled “Method of Concurrent Multiple-Mode Motion Estimation

For Digital Video,” issued on February 11, 2003. A copy of the ’005 patent is attached as Exhibit

A.

       12.     Pursuant to 35 U.S.C. § 282, the ’005 patent is presumed valid.

       13.     Invented by Koninklijke Philips Electronics N.V., the inventions of the ’005 patent

were not well-understood, routine or conventional at the time of the invention. At the time of

invention of the ’005 patent, different compression algorithms had been developed for digitally

encoding video and audio information (hereinafter referred to generically as “digital video data

stream”) in order to minimize the bandwidth required to transmit this digital video data stream for

a given picture quality. ’005 patent at 1:12-17. Several multimedia specification committees

established and proposed standards for encoding/compressing and decoding/decompressing audio

and video information. The most widely accepted international standards have been proposed by

the Moving Pictures Expert Group (MPEG). Id. at 1:17-22 Video coding, such as MPEG coding,

involves a number of steps. In general, in accordance with the MPEG standards, the audio and

video data comprising a multimedia data stream (or “bit stream”) are encoded/compressed in an

intelligent manner using a compression technique generally known as “motion coding.” Id. at

1:41-45. More particularly, rather than transmitting each video frame in its entirety, MPEG uses

motion estimation for only those parts of sequential pictures that vary due to motion, where

possible. Id. at 1:45-48. In general, the picture elements or “pixels” of a picture are specified

relative to those of a previously transmitted reference or “anchor” picture using differential or

“residual” video, as well as so-called “motion vectors” that specify the location of a 16-by-16

array of pixels or “macroblock” within the current picture relative to its original location within

the anchor picture. Id. at 1:48-55. Computation of the motion vector(s) for a given macroblock

involves an exhaustive search procedure that is very computationally intensive. Id. at 3:25-39. It



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was desirable at the time of the invention to improve this process. Id. at 3:40-67.

     14.       The inventive solution of the claimed inventions of the ’005 patent provides a

system and method for digital video compression, and, more particularly, to a motion estimation

method and search engine for a digital video encoder that is simpler, faster, and less expensive

than prior art technology, and that permits concurrent motion estimation using multiple prediction

modes. Id. at 1:6-11.

     15.       A person of ordinary skill in the art reading the ’005 patent and its claims would

understand that the patent’s disclosure and claims are drawn to solving a specific, technical

problem arising in the field of digital video compression. Id. Moreover, a person of ordinary skill
in the art would understand that the claimed subject matter of the ’005 patent presents

advancements in the field of digital video compression, and more particularly to a motion

estimation method and search engine for a digital video encoder that is simpler, faster, and less

expensive than prior art technology, and that permits concurrent motion estimation using multiple

prediction modes. Id.

     16.       In light of the foregoing, a person of ordinary skill in the art would understand that

claim 1 of the ’005 patent is directed to a method for motion coding an uncompressed digital

video data stream, which provides concurrent motion estimation using multiple prediction modes.

Moreover, a person of ordinary skill in the art would understand that claim 1 of the ’005 patent

contains that corresponding inventive concept.

     17.       Upon information and belief, Dailymotion makes, uses, offers for sale, and/or sells

in the United States and/or imports into the United States products and services such as its H.264

encoders that practice a method for motion coding an uncompressed digital video data stream

(collectively the “`005 Accused Infringing Devices”).

     18.       Upon information and belief, the `005 Accused Infringing Devices infringe at least

claim 1 in the exemplary manner described below.

     19.       The `005 Accused Infringing Devices provide a method for motion coding an

uncompressed (pixel level) digital video data stream. The `005 Accused Infringing Devices



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receive input video streams which are then encoded and/or transcoded using at least the H.264

(AVC1) standard. The H.264 standard is a widely used video compression format with decoder

support on web browsers, TVs and other consumer devices. Moreover, H.264 uses motion

compressor and estimator for motion coding video streams.

     20.      The `005 Accused Infringing Devices stream content using HLS format, as shown

by the m3u8 manifest sample below. The top level manifest indicates the codecs used for audio

and video encoding. The video codec used is H.264 (AVC1). The `005 Accused Infringing

Devices also encode using H.264 encoders.




Source: https://medium.com/@gilles.vieira/hardware-assisted-video-transcoding-at-dailymotion-
66cd2db448ae




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Source:
https://www.dailymotion.com/video/x6yf7ed.m3u8?sec=Fc9qY8jXZraQhOrrJqEjmJcyVoDJ0H8
RVw0RW6RZ2ow2rvs9IJEniGwO45dWp5jBrI0K9Mqk_36ewjxzrwoHjQ




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Source : https://www.dailymotion.com/video/x6yf7ed




Source : https://tools.ietf.org/html/rfc6381


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                                H.264 Uses Predictive Coding




Source: H.264 Standard (03-2010) at pp. 3-4

                               H.264 Encoder Block Diagram




Source: https://courses.cs.washington.edu/courses/csep590a/07au/lectures/rahullarge.pdf


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        21.        The `005 Accused Infringing Devices provide a method for comparing pixels of a

first pixel array (e.g., a macroblock) in a picture currently being coded with pixels of a plurality of

second pixel arrays in at least one reference picture and concurrently performing motion

estimation for each of a plurality of different prediction modes in order to determine which of the

prediction modes is an optimum prediction mode.

        22.        H.264 uses different motion estimation modes in inter-frame prediction. These

modes are commonly referred to as inter-frame prediction modes, or inter modes. Each inter

mode involves partitioning the current macroblock into a different combination of sub blocks, and
selecting the optimum motion vector for the current macroblock based on the partition. The inter-

frame prediction modes, or inter modes, can be further categorized by the number and position of

the reference frames, as well as the choice of integer pixel, half pixel and quarter pixel values in

motion estimation. The Dailymotion H.264 encoders concurrently perform motion estimation of

a macroblock for all inter-modes and select the most optimum prediction mode with least rate

distortion cost.


                                          Mode Decision
                                              16x16 luma Macroblock



                             Intra Modes                                Inter Modes (Only
                           (For all frames)                            for P and B-frames)
                                                                      • Macroblock partitions:
                           • Nine 4x4 Modes
                                                                      16x16,16x8,8x16,
                           • Four 16x16 Modes
                                                                      8x8,8x4,4x8,4x4
                                                                      • Use of reference frames
                                                                      • Use of integer, half and
                                                                      quarter pixel motion
                                                                      estimation
                        • Each mode (inter or intra) has an associated Rate-Distortion (RD)
                        cost.
                        • Encoder performs mode decision to select the mode having the least
                        RD cost. This process is computationally intensive.
                                                                                                   30

Source: https://courses.cs.washington.edu/courses/csep590a/07au/lectures/rahullarge.pdf, p. 30
        23.        H.264 provides a hierarchical way to partition a macroblock, with the available

partitions shown in the following two figures. An exemplary inter-frame prediction mode, or inter


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mode, can be for a macroblock to be partitioned to encompass a 16x8 sub block on the left, and

two 8x8 sub blocks on the right.

                    Macroblock partitions for inter-frame prediction modes


                                  Macroblock Partitions
                                                                       16x16 blocks can
                    8x8         8x8                            8x16
                                                                       be broken into
                                       16x8     16x8
                                                                       blocks of sizes
                    8x8         8x8                            8x16    8x8, 16x8, or 8x16.


                      16x16               16x16                16x16


                                                                       8x8 blocks can be
                    4x4         4x4                             4x8    broken into blocks
                                        8x4         8x4                of sizes 4x4, 4x8,
                                                                       or 8x4.
                    4x4         4x4                             4x8


                          8x8                 8x8               8x8


Source: https://courses.cs.washington.edu/courses/csep590a/07au/lectures/rahullarge.pdf, p. 4

             H.264 provides macroblock partitions for inter-frame prediction modes




Source: H.264 Standard (03-2010) at p. 26
       24.      The optimum prediction mode as chosen for the current macroblock is embedded

in the compressed bit stream of H.264, as shown in the following two syntaxes.

                                  Macroblock prediction syntax in H.264

                                                          10
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Source: H.264 Standard (03-2010) at p. 57




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                        Sub-macroblock prediction syntax in H.264




Source: H.264 Standard (03-2010) at p. 58




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       25.     The `005 Accused Infringing Devices provide a method for determining which of

the second pixel arrays (e.g., macroblock) constitutes a best match with respect to the first pixel

array (e.g., macroblock) for the optimum prediction mode.




Source: B. Juurlink et al., Scalable Parallel Programming Applied to H.264, Chapter 2:
Understanding the Application: An Overview of the H.264 Standard, p. 12

       26.     For example, the encoder performs mode decision to select the most optimum

prediction mode with least rate distortion cost.


                                   Macroblock layer semantics




Source: H.264 Standard (03-2010), p. 100




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                                          Mode Decision




Source: https://courses.cs.washington.edu/courses/csep590a/07au/lectures/rahullarge.pdf, p. 30

       27.     The `005 Accused Infringing Devices provide a method for generating a motion

vector for the first pixel array in response to the determining step. The encoder calculates the

appropriate motion vectors and other data elements represented in the video data stream.




Source: B. Juurlink et al., Scalable Parallel Programming Applied to H.264, Chapter 2:
Understanding the Application: An Overview of the H.264 Standard, p. 12

                          Motion Vector Derivation is described below

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Source: H.264 Standard (03-2010), p. 151

                                 H.264 Encoder Block Diagram




Source: https://courses.cs.washington.edu/courses/csep590a/07au/lectures/rahullarge.pdf, p. 2

       28.     Dailymotion has infringed, and continues to infringe, at least claim 1 of the ’005

patent in the United States, by making, using, offering for sale, selling and/or importing the `005

Accused Infringing Devices in violation of 35 U.S.C. § 271(a).

       29.     Upon information and belief, Dailymotion may have infringed and continues to

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infringe the ’005 patent through other software and devices utilizing the same or reasonably

similar functionality, including other versions of the `005 Accused Infringing Devices.

       30.     Dailymotion’s acts of direct infringement have caused and continue to cause

damage to Uniloc and Uniloc is entitled to recover damages sustained as a result of Dailymotion’s

wrongful acts in an amount subject to proof at trial.

       COUNT II– INFRINGEMENT OF U.S. PATENT NO. 6,895,118

       31.     The allegations of paragraphs 1-9 of this Complaint are incorporated by reference

as though fully set forth herein.

       32.     The ’118 patent, titled “Method Of Coding Digital Image Based on Error

Concealment,” issued on May 17, 2005. A copy of the ’118 patent is attached as Exhibit B.

       33.     Pursuant to 35 U.S.C. § 282, the ’118 patent is presumed valid.

       34.     Invented by Koninklijke Philips Electronics N.V., the inventions of the ’118 patent

were not well-understood, routine or conventional at the time of the invention. The specification

discloses previous work done to reduce the amount data required to send a video stream by

intentionally dropping certain image blocks, and then concealing the lost blocks through the use

of spatial interpolation. ’118 patent at 1:14-32. The publication referenced in the specification

describes how a JPEG coder can be modified to intentionally drop image blocks that can be

reasonably reconstructed from neighboring transmitted blocks. The schemes described therein

achieved data reduction by replacing dropped blocks with constant value blocks, or by modifying

block addressing information to communicate the addresses of the dropped blocks. Id. at 1:21-32.

       35.     The inventors observed that block information could be dropped altogether,

simulating lost data in the video stream, but for the synchronization issues such data dropping can

cause at the decoder. MPEG-4, a more modern coding standard than JPEG or MPEG-1,

contained a new mechanism to recover from lost data through periodically inserted

resynchronization markers. Id.at 1:35-42. One aspect of the invention was to selectively combine

block dropping with resynchronization markers to enable more efficient compression. The

inventors include a step in their invention to evaluate the potential data savings of dropping a



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block or blocks relative to the overhead of the resynchronization markers. Id. At 2:11-27. In

addition to spatial reconstruction of dropped blocks, the inventors furthermore incorporated the

additional mechanism of temporal interpolation to support reconstruction of dropped blocks,

using motion vector information from neighboring blocks. Id. at 3:19-28.

       36.     A person of ordinary skill in the art reading the ’118 patent and its claims would

understand that the patent’s disclosure and claims are drawn to solving a specific, technical

problem arising in achieving more efficient video compression. Moreover, a person of ordinary

skill in the art would understand that the claimed subject matter of the ’118 patent presents

advancements in the field of digital image coding. And, as detailed by the specification, the prior
tools for reducing compressed video data rates was such that a new and novel approach was

required.

       37.     In light of the foregoing, a person of ordinary skill in the art would understand that

claim 1 of the ’118 patent is directed to a method of coding a digital image comprising

macroblocks in a binary data stream. Id. at 8:2-3. Moreover, a person of ordinary skill in the art

would understand that claim 1 of the ’118 patent contains the inventive concept of (1) an

estimation step, for macroblocks, of a capacity to be reconstructed via an error concealment

method, (2) a decision step for macroblocks to be excluded from the coding, a decision to exclude

a macroblock from coding being made on the basis of the capacity of such macroblock to be

reconstructed, and (3) a step of inserting a resynchronization marker into the binary data stream

after the exclusion of one or more macroblocks. Id. at 8:4-12.

       38.     Upon information and belief, Dailymotion makes, uses, offers for sale, and/or sells

in the United States and/or imports into the United States products and services such as H.264

encoders that practice a method for coding a digital image comprising macroblocks in a binary

data stream (collectively the “`118 Accused Infringing Devices”).

       39.     Upon information and belief, the `118 Accused Infringing Devices infringe at least

claim 1 in the exemplary manner described below.

       40.     The `118 Accused Infringing Devices use H.264 (AVC) streams for coding video



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data (digital images) including macroblocks embedded in a binary stream.

       41.    H.264 is a widely used video compression format with decoder support on web

browsers, TVs and other consumer devices. Moreover, H.264 codes digital images comprising

macroblocks streams.

       42.    The `118 Accused Infringing Devices stream content using the HLS format, as

shown by the m3u8 (manifest) sample below. The manifest file includes references to the video

codec: AVC1 (H.264). The AVC1 designator is the IETF identifier for H.264. The binary (byte

stream) format is specified in Annex B of the H.264 specification. The `118 Accused Infringing

Devices also encode using H.264 encoders.




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Source: https://medium.com/@gilles.vieira/hardware-assisted-video-transcoding-at-dailymotion-
66cd2db448ae




Source : https://www.dailymotion.com/video/x6yf7ed




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Source:
https://www.dailymotion.com/video/x6yf7ed.m3u8?sec=Fc9qY8jXZraQhOrrJqEjmJcyVoDJ0H8
RVw0RW6RZ2ow2rvs9IJEniGwO45dWp5jBrI0K9Mqk_36ewjxzrwoHjQ




Source : https://tools.ietf.org/html/rfc6381




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Source: https://www.itu.int/rec/T-REC-H.264-201704-I/en , p. i




Source: https://www.itu.int/rec/T-REC-H.264-201704-I/en, section 0.6.3




Source: https://www.itu.int/rec/T-REC-H.264-201704-I/en, Annex B

       43.     The `118 Accused Infringing Devices’ H.264 coding supports skipped

macroblocks. Before a macroblock is coded, an estimation is made of whether that macroblock

can be reconstructed with an error concealment method by examining its motion characteristics,

and checking to see that the resulting prediction contains no non-zero (i.e. all zero) quantized

transform coefficients. This estimation provides an indication of the capacity for the macroblock

to be reconstructed from properties of neighboring macroblocks, allowing the missing block to be

concealed by inferring its properties.




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Source: http://mrutyunjayahiremath.blogspot.com/2010/09/h264-inter-predn.html

       44.     The `118 Accused Infringing Devices’ H.264 encoders perform a decision step to

determine if a macroblock should be excluded from coding (skipped), with the decision to

exclude made on the basis of its capacity to be reconstructing by inferring its motion properties

from neighboring macroblocks, and based on all zero quantized transform coefficients.




Source: http://mrutyunjayahiremath.blogspot.com/2010/09/h264-inter-predn.html




Source: https://www.itu.int/rec/T-REC-H.264-201704-I/en, p. 13

       45.     Skipped macroblocks are communicated with an mb_skip_flag = 1

(resynchronization marker at the point where the macroblocks are not coded (skipped)) in the

binary data stream.


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Source: https://www.itu.int/rec/T-REC-H.264-201704-I/en, p. 13




Source: https://www.oreilly.com/library/view/the-h264-
advanced/9780470516928/ch05.html#macroblock_layer




Source: https://www.itu.int/rec/T-REC-H.264-201704-I/en, p. 96

       46.     Dailymotion has infringed, and continues to infringe, at least claim 1 of the ’118

patent in the United States, by making, using, offering for sale, selling and/or importing the `118

Accused Infringing Devices in violation of 35 U.S.C. § 271(a).

       47.     Upon information and belief, Dailymotion may have infringed and continues to

infringe the ’118 patent through other software and devices utilizing the same or reasonably

similar functionality, including other versions of the `118 Accused Infringing Devices.

       48.     Dailymotion’s acts of direct infringement have caused and continue to cause

damage to Uniloc and Uniloc is entitled to recover damages sustained as a result of Dailymotion’s

wrongful acts in an amount subject to proof at trial.


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        COUNT III– INFRINGEMENT OF U.S. PATENT NO. 9,721,273

        49.     The allegations of paragraphs 1-9 of this Complaint are incorporated by reference

as though fully set forth herein.

        50.     The ’273 patent, titled “System and Method For Aggregating And Providing

Audio And Visual Presentations Via A Computer Network,” issued on August 1, 2017. A copy

of the ’273 patent is attached as Exhibit C.

        51.     Pursuant to 35 U.S.C. § 282, the ’273 patent is presumed valid.

        52.     Invented by LINQware, Inc., the inventions of the ’273 patent were not well-

understood, routine or conventional at the time of the invention. At the time of invention of the

’273 patent, it was very difficult for a user of an Internet enabled computer to find content of a

particular type and relating to a particular subject because the amount of content available via the

Internet was virtually unlimited. ’273 patent at 1:51-55. A popular solution to finding desired

content was to use a publicly available search engine. Id. at 1:56-57. Each search engine

typically used its own methodology to create indices such that, ideally, only meaningful results

are returned for each query. Id. at 1:63-65. This was not always true though due to the complex

nature and nuances of human language and efforts by document authors or providers to fool or

trick the indexer into ranking its documents above those of others. Id. at 1:65-2:2. Examples of

conventional search engines include those made available via www.yahoo.com, www.google.com

and www.search.com. Id. at 2:2-4.

        53.     The inventive solution of the claimed inventions of the ’273 patent provides a new

and novel system and method of using the Internet. Id. at 2:6-8. In accordance with one aspect of

the invention, the specification discloses a method for aggregating and providing content via a

computer network and computing system which includes the steps of storing data associated with

a first plurality of presentations and storing data indicative of the first plurality of presentations so

as to be associated with the stored data associated with the first plurality of presentations using

the computer system. Id. at 2:39-45. The method also includes the step of storing data associated

with a plurality of feeds using the computer system, wherein each of the feeds provides a



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corresponding second plurality of presentations being accessible via the computer network, and

no data indicative of the second plurality of presentations is stored using the computing system.

Id. at 2:45-50. The method also includes the step of automatically and periodically accessing

each of the feeds to identify each of the provided second plurality of presentations and

aggregating each of the first and identified second pluralities of presentations for delivery via the

computer network using a common web page. Id. at 2:50-55.

       54.     A person of ordinary skill in the art reading the ’273 patent and its claims would

understand that the patent’s disclosure and claims are drawn to solving a specific, technical

problem arising in aggregating and providing audio and visual presentations via a computer
network. Moreover, a person of ordinary skill in the art would understand that the claimed

subject matter of the ’273 patent presents advancements in the field of the provision of

informational, entertainment, educational, business and other audio and/or audio/visual

presentations via a computer network. And, as detailed by the specification, the prior search

engines suffered drawbacks such that a new and novel communications system was required.

       55.     In light of the foregoing, a person of ordinary skill in the art would understand that

claim 1 of the ’273 patent is directed to creating a common web page from aggregating

collections of presentations and feed data is collected and analyzed from multiple feeds in at least

one of the collections of presentations in order to provide more relevant content to each user. Id.

at 12:39-59. Moreover, a person of ordinary skill in the art would understand that claim 1 of the

’273 patent contains the inventive concept of creating a common web page from the aggregating

of collections of presentations and collecting and analyzing feed data from multiple feeds in at

least one of the collections of presentations in order to provide more relevant content to each user.

Id. This is a specific improvement to the technology of delivering content to Internet users.

       56.     Upon information and belief, Dailymotion makes, uses, offers for sale, and/or sells

in the United States and/or imports into the United States products and services that practice a

method for providing content via a computer network and a computer system (collectively the

“`273 Accused Infringing Devices”).



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       57.     Upon information and belief, the `273 Accused Infringing Devices infringe at least

claim 1 in the exemplary manner described below.

       58.     The `273 Accused Infringing Devices perform a method for providing content via

a computer network and computer system. For example, Dailymotion operates a streaming

service that delivers TV shows and movies to subscribers over the Internet.

       "Dailymotion is an original, free video hosting website that enables users to access, view,

       upload, store and share videos. The Dailymotion Service is made up of the Dailymotion

       website, the Dailymotion video player that is embeddable onto any website, the

       Dailymotion apps and web-apps as accessible via any current or future device capable of
       distributing the Dailymotion website and/or the video player, and more generally any

       Dailymotion products, content, channels, software, data feeds, services and functionality

       (“Dailymotion Service”)."

       Source: https://www.dailymotion.com/legal
       59.     The `273 Accused Infringing Devices store presentation data that represents

content of a first collection of one or more presentations using the computer system. For

example, the `273 Accused Infringing Devices identify and store presentation data representing

content of a collection of Recommended Videos using the computer system.




       60.     The `273 Accused Infringing Devices store data indicative of the first collection of

presentations so as to be associated with the presentation data. For example, the `273 Accused

Infringing Devices store data such as the title and associated feed for each presentation, as well as

user preferences that caused the presentation to be recommended to the user.

       61.     The `273 Accused Infringing Devices store feed data that represents a collection of


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one or more feeds using the computer system. For example, the `273 Accused Infringing Devices

provide “channels” that users may “follow.”




       62.    As shown in the Developer Tools capture of Javascript running on the Dailymotion

website, the `273 Accused Infringing Devices allow users to generate feeds: “The more you

watch, like and follow, the more personalized your feed becomes.”




       63.    Each of the feeds identifies a corresponding second collection of one or more

presentations being accessible via the computer network, and includes no data representing the



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content of the second collection of presentations. The feed data includes the identifier associated

with the presentations, but not the content of the presentations. Each video appears to be

associated with a seven digit alphanumeric identifier, such as “x6z5sb7” for the news clip about

the Trump Foundation, shown below.




Source: https://www.dailymotion.com/video/x6z5sb7

       64.     The `273 Accused Infringing Devices automatically and periodically access each

of the feeds to identify each of the corresponding second collection of presentations using the

computer system. Upon information and belief, the `273 Accused Infringing Devices determine

automatically and periodically whether a channel owner has added a video to their channel and

updates the channel display accordingly. The `273 Accused Infringing Devices also periodically

update recommendations on the “For You” page based on user preferences.

       65.     The `273 Accused Infringing Devices store data associated with a third collection

of one or more presentations. For example, the third collection may include presentations
associated with a recommended channel that the user has not yet followed, such as “Seventeen.”

The `273 Accused Infringing Devices store data associated with all channels.




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       66.     The `273 Accused Infringing Devices aggregate the first, second and third

collections of presentations for delivery via the computer network using a common web page.

For example, the dailymotion.com “For You” page includes rows corresponding to the first,

second and third collections of presentations.




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       67.     Dailymotion has infringed, and continues to infringe, at least claim 1 of the ’273

patent in the United States, by making, using, offering for sale, selling and/or importing the `273
Accused Infringing Devices in violation of 35 U.S.C. § 271(a).

       68.     Upon information and belief, Dailymotion may have infringed and continues to

infringe the ’273 patent through other software and devices utilizing the same or reasonably

similar functionality, including other versions of the `273 Accused Infringing Devices.

       69.     Dailymotion’s acts of direct infringement have caused and continue to cause

damage to Uniloc and Uniloc is entitled to recover damages sustained as a result of Dailymotion’s

wrongful acts in an amount subject to proof at trial.

                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff Uniloc 2017 LLC respectfully prays that the Court enter

judgment in its favor and against Dailymotion as follows:
              a.       A judgment that Dailymotion has infringed one or more claims of the ’005

Patent literally and/or under the doctrine of equivalents;

              b.       A judgment that Dailymotion has infringed one or more claims of the ’118

Patent literally and/or under the doctrine of equivalents;

              c.       A judgment that Dailymotion has infringed one or more claims of the ’273

Patent literally and/or under the doctrine of equivalents;

              d.       That for each Asserted Patent this Court judges infringed by Dailymotion

this Court award Uniloc its damages pursuant to 35 U.S.C. § 284 and any royalties determined to

be appropriate;


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               e.     That this be determined to be an exceptional case under 35 U.S.C. § 285;

               f.     That this Court award Uniloc prejudgment and post-judgment interest on

its damages;

               g.     That Uniloc be granted its reasonable attorneys’ fees in this action;

               h.     That this Court award Uniloc its costs; and

               i.     That this Court award Uniloc such other and further relief as the Court

deems proper.

                                    DEMAND FOR JURY TRIAL

       Uniloc hereby demands trial by jury on all issues so triable pursuant to Fed. R. Civ. P. 38.


 DATED: January 30, 2019                          Respectfully submitted,

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